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                             IN THE UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

BARBARA SCHULTZ,                                       CASE NO.: 8:17-cv-631-VCM-TBM

          Plaintiff,
v.

CITIBANK, N.A.,

          Defendant.
                                               /

     JOINT MOTION TO ORDER ARBITRATION, EXTEND ALL DEADLINES, AND
                       STAY COURT PROCEEDINGS

          Plaintiff, Barbara Schultz ("Plaintiff"), and Defendant, Citibank, N.A. ("Citibank" or

"Defendant"), by and through the undersigned counsel, hereby file this Joint Motion to Order

Arbitration, Extend All Deadlines, and Stay Court Proceedings (“Joint Motion”) pending the

outcome of arbitration and for entry of the Agreed Order Granting Joint Motion to Order

Arbitration, Extend All Deadlines, and Stay Court Proceedings attached hereto as "Exhibit A,"

and in support state as follows:

          1.      Plaintiff has filed a Complaint against Citibank alleging, amongst other things,

violations of the Telephone Consumer Protection Act (“TCPA”) and the Florida Consumer

Collection Practices Act ("FCCPA") for calls allegedly made to Plaintiff in an attempt to collect

a credit card debt allegedly owed by Plaintiff relating to her credit card.

          2.      Pursuant to the arbitration agreement included in the card member agreements

and amendments for both of Plaintiff’s accounts with Citibank Credit Card, all attached hereto as

"Composite Exhibit B" ("Agreement"), the parties agree that this entire litigation shall be

submitted to binding arbitration and this action, including all claims against Citibank alleged

herein, shall be stayed in their entirety, including the deadline to set mediation, the deadline to


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hold mediation, all discovery and/or other deadlines ultimately issued in this case and/or stated in

the Federal Rules of Civil Procedure, and this Court's local rules of practice.

          3.    More specifically, the parties request that the deadline to schedule mediation and

to file a notice of mediation be extended and/or stayed while this Joint Motion is pending, given

the agreement to arbitrate the claims in this litigation, as well as Defendant’s unavailability on

the only three (3) dates Mr. Grilli has available between July 10, 2017 and August 9, 2017.

          4.    Plaintiff agrees to submit her claims to binding arbitration, as required by the

Agreement, with the American Arbitration Association ("AAA") pursuant to its Consumer

Arbitration Rules.

          5.    Should the parties resolve this dispute, the parties agree to file a joint notice of

dismissal promptly thereafter.

          WHEREFORE, the parties respectfully request entry of the attached Agreed Order

Granting Joint Motion to Order Arbitration, Extend All Deadlines, and Stay Court Proceedings

for claims against Citibank as set forth in the complaint, and for any other relief the Court deems

appropriate.

Agreed to this 25th day of April, 2017.              Agreed to this 25th day of April, 2017.

/s/Laura Westerman Tanner                            /s/Stefan Alvarez
Reid Manley (FL Bar # 11612)                         William Peerce Howard, Esq.
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Attorneys for Defendant
CITIBANK, N.A.




                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing was filed by using the CM/ECF

System which will furnish an electronic notice this 25th day of April, 2017 to:


                                      Stefan A. Alvarez, Esq.
                                   William Peerce Howard, Esq.
                               CONSUMER PROTECTION FIRM
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                                       Attorneys for Plaintiff

                                                      /s/ Laura Westerman Tanner
                                                     Laura Westerman Tanner, Esq.
                                                     (FL Bar 0085573)




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